B1 (Official Form 1) (04/13)
                                                 United States Bankruptcy Court
                                                WESTERN DISTRICT OF LOUISIANA                                                                                    Voluntary Petition
                                                     ALEXANDRIA DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Bell, Helen W.

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-5427                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
4315 St. Juliana St.
Alexandria, LA
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            71301
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Rapides
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                         ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
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                   15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 1 of 49
B1 (Official Form 1) (04/13)                                                                                                                                                     Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Helen W. Bell
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Thomas C. McBride                                              4/17/2015
                                                                                                 Thomas C. McBride                                                     Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                 15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 2 of 49
B1 (Official Form 1) (04/13)                                                                                                                                                       Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Helen W. Bell
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Helen W. Bell
      Helen W. Bell
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     4/17/2015
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Thomas C. McBride                                                                 defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Thomas C. McBride                                Bar No. 09210                         have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 McBride Law Firm
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 Thomas C. McBride, LLC                                                                      given the debtor notice of the maximum amount before preparing any document
 301 Jackson St., Ste. 101                                                                   for filing for a debtor or accepting any fee from the debtor, as required in that
 Alexandria, LA 71301                                                                        section. Official Form 19 is attached.


          (318) 445-8800
 Phone No.______________________        (318) 445-8066
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     4/17/2015
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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                 15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 3 of 49
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF LOUISIANA
                                                   ALEXANDRIA DIVISION
In re:   Helen W. Bell                                                                   Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.


Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.




           15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 4 of 49
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF LOUISIANA
                                                   ALEXANDRIA DIVISION
In re:   Helen W. Bell                                                                Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Helen W. Bell
                       Helen W. Bell

Date:        4/17/2015




           15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 5 of 49
B6A (Official Form 6A) (12/07)



In re Helen W. Bell                                                   Case No.
                                                                                                            (if known)



                                     SCHEDULE A - REAL PROPERTY


                                                                                                         Current Value




                                                                               Husband, Wife, Joint,
                                                                                                          of Debtor's
                   Description and                   Nature of Debtor's




                                                                                 or Community
                                                                                                           Interest in
                     Location of                    Interest in Property
                                                                                                       Property, Without    Amount Of
                      Property                                                                                             Secured Claim
                                                                                                        Deducting Any
                                                                                                        Secured Claim
                                                                                                         or Exemption


 House and Lot located at                      Fee Simple                         -                         $70,000.00        $82,262.00
 4315 St. Juliana Street,
 Alexandria, LA




                                                                           Total:                           $70,000.00
                                                                           (Report also on Summary of Schedules)




             15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 6 of 49
B6B (Official Form 6B) (12/07)




In re Helen W. Bell                                                                       Case No.
                                                                                                       (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                            Husband, Wife, Joint,
                                                                                                                                    Current Value of
                                                                                                                                    Debtor's Interest




                                                                                                              or Community
                                                                                                                                       in Property,

             Type of Property             None                  Description and Location of Property
                                                                                                                                    Without Deducting
                                                                                                                                      any Secured
                                                                                                                                         Claim or
                                                                                                                                        Exemption

1. Cash on hand.                          X

2. Checking, savings or other finan-             Regions Checking Account                                         -                           $5.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Furniture, Fixtures, and Appliances                              -                       $2,000.00
including audio, video and computer
equipment.

5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Various Clothing                                                 -                         $150.00



7. Furs and jewelry.                             Various Jewelry                                                  -                         $100.00



8. Firearms and sports, photo-            X
graphic, and other hobby equipment.

9. Interests in insurance policies.       X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name           X
each issuer.




              15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 7 of 49
B6B (Official Form 6B) (12/07) -- Cont.




In re Helen W. Bell                                                                       Case No.
                                                                                                       (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 1




                                                                                                            Husband, Wife, Joint,
                                                                                                                                    Current Value of
                                                                                                                                    Debtor's Interest




                                                                                                              or Community
                                                                                                                                       in Property,

             Type of Property              None                 Description and Location of Property
                                                                                                                                    Without Deducting
                                                                                                                                      any Secured
                                                                                                                                         Claim or
                                                                                                                                        Exemption


11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,               Pinecrest State School Retirement                               -                        Unknown
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to         X
debtor including tax refunds. Give
particulars.




              15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 8 of 49
B6B (Official Form 6B) (12/07) -- Cont.




In re Helen W. Bell                                                                       Case No.
                                                                                                       (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 2




                                                                                                            Husband, Wife, Joint,
                                                                                                                                    Current Value of
                                                                                                                                    Debtor's Interest




                                                                                                              or Community
                                                                                                                                       in Property,

             Type of Property               None                Description and Location of Property
                                                                                                                                    Without Deducting
                                                                                                                                      any Secured
                                                                                                                                         Claim or
                                                                                                                                        Exemption


19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                 2005 Jeep Grand Cherokee                                       -                       $6,025.00
and other vehicles and accessories.

26. Boats, motors, and accessories.         X




              15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 9 of 49
B6B (Official Form 6B) (12/07) -- Cont.




In re Helen W. Bell                                                                           Case No.
                                                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                              Continuation Sheet No. 3




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

             Type of Property                 None                Description and Location of Property
                                                                                                                                                  Without Deducting
                                                                                                                                                    any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any                   Earned Income Tax Credit                                                   -                        Unknown
kind not already listed. Itemize.




                                                                          3           continuation sheets attached   Total >                            $8,280.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)




             15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 10 of 49
B6C (Official Form 6C) (4/13)



In re Helen W. Bell                                                                            Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 House and Lot located at                                La. Const. Art. 12, § 9; La. Rev. Stat. §             $35,000.00              $70,000.00
 4315 St. Juliana Street,                                20:1
 Alexandria, LA

 Furniture, Fixtures, and Appliances                     La. R.S. § 13:3881(A)(4)                               $2,000.00               $2,000.00

 Various Clothing                                        La. R.S. § 13:3881(A)(4)                                 $150.00                 $150.00

 Various Jewelry                                         La. R.S. § 13:3881(A)(5)                                 $100.00                 $100.00

 Pinecrest State School Retirement                       La. R.S. § 13-3881(D)                                   Unknown                 Unknown

 2005 Jeep Grand Cherokee                                La. R.S. § 13:3881(A)(7)                               $7,500.00               $6,025.00

 Earned Income Tax Credit                                La. R.S. § 13:3881(A)(6)                                Unknown                 Unknown




* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                               $44,750.00              $78,275.00




             15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 11 of 49
B6D (Official Form 6D) (12/07)
          In re Helen W. Bell                                                                                        Case No.
                                                                                                                                                  (if known)



                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                AMOUNT OF         UNSECURED




                                                                                                                              UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                  CLAIM           PORTION, IF




                                                                                                                               CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                  WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                    VALUE OF
                                                                                             PROPERTY SUBJECT                                COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  Tax Lien
Internal Revenue Service                                                          COLLATERAL:
                                                                                  House and Lot located at                                      $14,000.00
1555 Poydras Street, Ste. 220                                   -                 REMARKS:
Mail Stop 31
New Orleans, LA 70112


                                                                                  VALUE:                        $70,000.00
                                                                                  DATE INCURRED:
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  Home Mortgage
MGC Mortgage                                                                      COLLATERAL:
                                                                                  House and Lot located at                                      $49,743.00
425 Philips Blvd.                                               -                 REMARKS:
Trenton, NJ 08618



                                                                                  VALUE:                        $70,000.00
                                                                                  DATE INCURRED:
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  Home Mortgage
Pelican State Credit Union                                                        COLLATERAL:
                                                                                  House and Lot located at                                      $18,519.00
11585 Lake Sherwood Avenue                                      -                 REMARKS:
Baton Rouge, LA 70816



                                                                                  VALUE:                        $70,000.00
                                                                                  DATE INCURRED:
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  Automobile
Pelican State Credit Union                                                        COLLATERAL:
                                                                                  2005 Jeep Grand Cherokee                                      $10,000.00          $3,975.00
11585 Lake Sherwood Avenue                                      -                 REMARKS:
Baton Rouge, LA 70816



                                                                                  VALUE:                         $6,025.00
                                                                                                     Subtotal (Total of this Page) >             $92,262.00           $3,975.00
                                                                                                    Total (Use only on last page) >              $92,262.00           $3,975.00
________________continuation
       No                    sheets attached                                                                                                 (Report also on   (If applicable,
                                                                                                                                             Summary of        report also on
                                                                                                                                             Schedules.)       Statistical
                                                                                                                                                               Summary of
                                                                                                                                                               Certain Liabilities
                                                                                                                                                               and Related
                                                                                                                                                               Data.)




            15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 12 of 49
B6E (Official Form 6E) (04/13)
In re Helen W. Bell                                                                               Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       1                     sheets attached




             15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 13 of 49
B6E (Official Form 6E) (04/13) - Cont.
In re Helen W. Bell                                                                                                       Case No.
                                                                                                                                                   (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Taxes and Certain Other Debts Owed to Governmental Units




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT          AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF          ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM         PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                   PRIORITY, IF
           (See instructions above.)                                                                                                                               ANY


ACCT #:                                                                          DATE INCURRED:
                                                                                 CONSIDERATION:
Internal Revenue Service                                                         Taxes                                                $11,000.00           $0.00    $11,000.00
Centralized Insolvency Operations                                                REMARKS:
P.O. Box 7346                                                    -
Philadelphia, PA 19101-7346



Representing:                                                                    Office of District Counsel                          Notice Only     Notice Only   Notice Only
Internal Revenue Service                                                         Internal Revenue Service
                                                                                 POB 30509
                                                                                 New Orleans, LA 70190


ACCT #:                                                                          DATE INCURRED:
                                                                                 CONSIDERATION:
Louisiana Department of Revenue                                                  Taxes                                                 $9,000.00       $2,500.00     $6,500.00
POB 66658                                                                        REMARKS:
Baton Rouge, LA 70896                                            -




Sheet no. __________
               1       of __________
                               1       continuation sheets                                  Subtotals (Totals of this page) >         $20,000.00       $2,500.00    $17,500.00
attached to Schedule of Creditors Holding Priority Claims                               Total >                                       $20,000.00
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                                                     $2,500.00    $17,500.00
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)




             15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 14 of 49
B6F (Official Form 6F) (12/07)
  In re Helen W. Bell                                                                                             Case No.
                                                                                                                                  (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                                    AMOUNT OF




                                                                                                                                        UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                       CLAIM




                                                                                                                                         CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                          DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
1st Heritage                                                                          Signature Loan                                                      $2,421.00
1261 Macarthur Drive                                                                  REMARKS:
                                                                  -
Alexandria, LA 71303



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Applied Bank                                                                          Credit Card                                                         $1,042.00
601 Delaware Ave                                                                      REMARKS:
                                                                  -
Wilmington, DE 19801



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Arctech Inc                                                                           Collecting for- Rivendell Behaviou Health                           $4,800.00
915 North Street                                                                      REMARKS:
                                                                  -
Little Rock, AR 72201



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
CAC Financial Corp.                                                                   Collecting for- S. Emer Consultants                                   $511.00
2601 NW Expressway, Ste. 1000 East                                                    REMARKS:
                                                                  -
Oklahoma City, OK 73112



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
CAC Financial Corp.                                                                   Collecting for- S Emer Consultants                                    $108.00
2601 NW Expressway, Ste. 1000 East                                                    REMARKS:
                                                                  -
Oklahoma City, OK 73112



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Capital One Bank                                                                      Signature Loan                                                        $400.00
P.O. Box 61540                                                                        REMARKS:
                                                                  -
New Orleans, LA 70160



                                                                                                                                    Subtotal >             $9,282.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       4                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)




            15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 15 of 49
B6F (Official Form 6F) (12/07) - Cont.
  In re Helen W. Bell                                                                                                   Case No.
                                                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                        AMOUNT OF




                                                                                                                                                UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                           CLAIM




                                                                                                                                                 CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                  DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Collection                                                                                Collecting for- Progressive Security Insurance                            $446.00
P.O. Box 9134                                                                             REMARKS:
                                                                      -
Needham Heights, MA 02494



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Credit Bureau Services                                                                    Collecting for- Christus St. Francis Cabrini                            $2,312.00
1244 Jackson Street                                                                       REMARKS:
                                                                      -
Alexandria, LA 71301



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Credit Bureau Services                                                                    Collecting for - City of Alexandria Utilities                             $320.00
1244 Jackson St.                                                                          REMARKS:
                                                                      -
Alexandria, LA 71301



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Credit Bureau Services                                                                    Collecting for - Rapides Regional Medical Center                           $81.00
1244 Jackson St.                                                                          REMARKS:
                                                                      -
Alexandria, LA 71301



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Csd Collections                                                                           Collecting for- Schumacher Group                                          $279.00
9544 Fenway Ave.                                                                          REMARKS:
                                                                      -
Baton Rouge, LA 70809



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
First National Collection Bureau                                                          Collecting for- First Premier Bank                                        $454.93
610 Waltham Way                                                                           REMARKS:
                                                                      -
Sparks, NV 89434



Sheet no. __________
              1        of __________
                               4     continuation sheets attached to                                                                        Subtotal >             $3,892.93
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




             15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 16 of 49
B6F (Official Form 6F) (12/07) - Cont.
  In re Helen W. Bell                                                                                                     Case No.
                                                                                                                                     (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                   AMOUNT OF




                                                                                                                                           UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                      CLAIM




                                                                                                                                            CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                             DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
First National Collection Bureau                                                          Collecting for- Capital One Bank                                   $4,040.30
610 Waltham Way                                                                           REMARKS:
                                                                      -
Sparks, NV 89434



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Franklin Collection Services                                                              Collecting for- ATT                                                  $136.00
2978 W. Jackson Street                                                                    REMARKS:
                                                                      -
Tupelo, MS 38801



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
General Collections and Recovery                                                          Collecting for - Bug Blasters                                        $123.00
3720 MacArthur Drive                                                                      REMARKS:
                                                                      -
Alexandria, LA 71302



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
General Collections and Recovery                                                          Collecting for - Dr. Davidson                                         $50.00
3720 MacArthur Drive                                                                      REMARKS:
                                                                      -
Alexandria, LA 71302



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Harvard Collection                                                                        Collecting for- Sprint                                               $769.00
4839 N. Elston Ave                                                                        REMARKS:
                                                                      -
Chicago, IL 60630



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
NCO Fin/99                                                                                Collecting for- NCO/Asgne of ATT                                   $2,457.00
507 Prudential Re.                                                                        REMARKS:
                                                                      -
Horsham, PA 19044



Sheet no. __________
              2        of __________
                               4     continuation sheets attached to                                                                   Subtotal >             $7,575.30
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




             15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 17 of 49
B6F (Official Form 6F) (12/07) - Cont.
  In re Helen W. Bell                                                                                                Case No.
                                                                                                                                      (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                    AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                       CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Paycheck Loans                                                                            Signature Loan                                                          $0.00
2640 Hwy. 28 East                                                                         REMARKS:
                                                                      -
Pineville, LA 71360



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Paycheck Loans                                                                            Signature Loan                                                        $355.00
744 MacArthur Drive                                                                       REMARKS:
                                                                      -
Alexandria, LA 71301



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Pelican State Credit Union                                                                Signature Loan                                                      $7,330.00
11585 Lake Sherwood Avenue                                                                REMARKS:
                                                                      -
Baton Rouge, LA 70816



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Rapides Parish Sheriff                                                                    Notice Only                                                             $0.00
701 Murray Street                                                                         REMARKS:
                                                                      -
Alexandria, LA 71301



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Security Finance                                                                          Signature Loan                                                        $375.00
1719 MacArthur Drive                                                                      REMARKS:
                                                                      -
Alexandria, LA 71301



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Southern Credit Recovery                                                                  Collecting for- ER Doctors at Huey P Long                             $128.00
3228 6th St, #201                                                                         REMARKS:
                                                                      -
Metairie, LA 70002-1612



Sheet no. __________
              3        of __________
                               4     continuation sheets attached to                                                                    Subtotal >             $8,188.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




             15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 18 of 49
B6F (Official Form 6F) (12/07) - Cont.
  In re Helen W. Bell                                                                                                Case No.
                                                                                                                                        (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                      AMOUNT OF




                                                                                                                                              UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                         CLAIM




                                                                                                                                               CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Southern Credit Recovery                                                                  Collecting for- Brown Folse Radiology Group                              $46.00
3228 6th St, #201                                                                         REMARKS:
                                                                      -
Metairie, LA 70002-1612



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
State Finance                                                                             Signature Loan                                                          $675.00
1785-B Elliott Street                                                                     REMARKS:
                                                                      -
Alexandria, LA 71301



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
TLRA                                                                                      Collecting for- Cabrini                                                 $100.00
POB 650576                                                                                REMARKS:
                                                                      -
Dallas, TX 75265



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Western Auto                                                                              Signature Loan                                                          $265.00
1000 Macarthur Blvd                                                                       REMARKS:
                                                                      -
Mahwah, NJ 07430



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
World Finance                                                                             Signature Loan                                                          $810.00
1777 Monroe Street                                                                        REMARKS:
                                                                      -
Alexandria, LA 71301



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Your Credit                                                                               Signature Loan                                                          $500.00
1623 MacArthur Drive                                                                      REMARKS:
                                                                      -
Alexandria, LA 71301



Sheet no. __________
              4        of __________
                               4     continuation sheets attached to                                                                      Subtotal >             $2,396.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                             $31,334.23
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




             15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 19 of 49
B6G (Official Form 6G) (12/07)
   In re Helen W. Bell                                                                  Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.




   Affordable Home Furnishings                                           Living Room and Bedroom Set
   624 MacArthur Drive                                                   Contract to be ASSUMED
   Alexandria, LA 71303




             15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 20 of 49
B6H (Official Form 6H) (12/07)
In re Helen W. Bell                                                                                Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR




              15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 21 of 49
 Fill in this information to identify your case:
     Debtor 1              Helen                W.                     Bell
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing post-petition
     United States Bankruptcy Court for the:   WESTERN DISTRICT OF LOUISIANA
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Direct Care
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Colwell Health Services

      Occupation may include            Employer's address     1111 Main Street
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Pineville                    LA       71360
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        5 Years


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $2,421.62
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $2,421.62




Official Form B 6I                                            Schedule I: Your Income                                                                page 1

            15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 22 of 49
Debtor 1 Helen                                W.                                 Bell                                            Case number (if known)
           First Name                         Middle Name                        Last Name


                                                                                                                    For Debtor 1                 For Debtor 2 or
                                                                                                                                                 non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $2,421.62
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $401.38
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00
     5e. Insurance                                                                                          5e.                $0.00
     5f. Domestic support obligations                                                                       5f.                $0.00
     5g. Union dues                                                                                         5g.                $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.               $401.38
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $2,020.24
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.              $490.72
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.

     8b. Interest and dividends                                                                             8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                          8d.                  $0.00
     8e. Social Security                                                                                    8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.               $0.00
     8g. Pension or retirement income                                                                       8g.           $1,551.03
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.            $2,041.75

10. Calculate monthly income. Add line 7 + line 9.                                                          10.           $4,061.99          +                       =       $4,061.99
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                12.             $4,061.99
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                         Combined
                                                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form B 6I                                                               Schedule I: Your Income                                                                          page 2

            15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 23 of 49
Debtor 1 Helen                   W.             Bell                             Case number (if known)
          First Name             Middle Name    Last Name




1.   Additional Employers Debtor 1                                        Debtor 2 or non-filing spouse

     Occupation           Direct Care
     Employer's name      Kellie Sitting
     Employer's address   123 Cleveland Road


                          Boyce                    LA       71409
                          City                     State    Zip Code      City                            State   Zip Code

     How long employed there?         4 Years




Official Form B 6I                              Schedule I: Your Income                                                  page 3

          15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 24 of 49
Debtor 1 Helen                      W.            Bell                      Case number (if known)
          First Name                Middle Name   Last Name


8a. Attached Statement (Debtor 1)




Gross Monthly Income:                                                                                $490.72

Expense                                              Category                              Amount

Total Monthly Expenses                                                                                 $0.00

Net Monthly Income:                                                                                  $490.72




Official Form B 6I                                Schedule I: Your Income                             page 4

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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Helen                  W.                     Bell                                An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    WESTERN DISTRICT OF LOUISIANA                                  MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Grandchild                          12
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.                                                          Grandchild                          7
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                  Grandchild                          6
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                  Grandchild                          4
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                      $730.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $300.00

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1

            15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 26 of 49
Debtor 1 Helen                      W.                      Bell                        Case number (if known)
            First Name              Middle Name             Last Name


                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                   $350.00
     6b. Water, sewer, garbage collection                                                            6b.

     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                   $175.00
         cable services
     6d. Other. Specify:                                                                             6d.

7.   Food and housekeeping supplies                                                                  7.                    $400.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.                    $150.00
10. Personal care products and services                                                              10.                    $49.00
11. Medical and dental expenses                                                                      11.                    $50.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                   $300.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.
    magazines, and books
14. Charitable contributions and religious donations                                                 14.                   $100.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                          15a.                  $120.00
     15b.    Health insurance                                                                        15b.                  $137.00
     15c.    Vehicle insurance                                                                       15c.                  $190.00
     15d.    Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                              17a.

     17b.    Car payments for Vehicle 2                                                              17b.

     17c.    Other. Specify: Rent to Own Payment                                                     17c.                  $250.00
     17d.    Other. Specify: 2nd Mortgage                                                            17d.                  $360.00
18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                             20a.

     20b.    Real estate taxes                                                                       20b.

     20c.    Property, homeowner's, or renter's insurance                                            20c.

     20d.    Maintenance, repair, and upkeep expenses                                                20d.

     20e.    Homeowner's association or condominium dues                                             20e.



 Official Form B 6J                                         Schedule J: Your Expenses                                         page 2

            15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 27 of 49
Debtor 1 Helen                    W.                       Bell                               Case number (if known)
           First Name             Middle Name              Last Name


21. Other. Specify: Misc.                                                                                    21.    +      $0.99
22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.        $3,661.99
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $4,061.99
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –   $3,661.99
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.        $400.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                         page 3

           15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 28 of 49
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF LOUISIANA
                                                    ALEXANDRIA DIVISION
   In re Helen W. Bell                                                               Case No.

                                                                                     Chapter      13



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                 $70,000.00


 B - Personal Property                            Yes      4                  $8,280.00

 C - Property Claimed                             Yes      1
     as Exempt
 D - Creditors Holding                            Yes      1                                           $92,262.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      2                                           $20,000.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      5                                           $31,334.23
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      4                                                                 $4,061.99
     Individual Debtor(s)

 J - Current Expenditures of                      Yes      3                                                                 $3,661.99
    Individual Debtor(s)

                                             TOTAL         23                $78,280.00             $143,596.23




             15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 29 of 49
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF LOUISIANA
                                                    ALEXANDRIA DIVISION
   In re Helen W. Bell                                                                Case No.

                                                                                      Chapter       13



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                    $20,000.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                              $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree                        $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar                       $0.00
 Obligations (from Schedule F)

                                                            TOTAL            $20,000.00

State the following:

 Average Income (from Schedule I, Line 12)                                     $4,061.99

 Average Expenses (from Schedule J, Line 22)                                   $3,661.99

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form
 22B Line 14; OR, Form 22C-1 Line 14)                                          $5,020.86

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                              $3,975.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                       $2,500.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                           $17,500.00

 4. Total from Schedule F                                                                           $31,334.23

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $52,809.23




             15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 30 of 49
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Helen W. Bell                                                                    Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 25
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 4/17/2015                                               Signature    /s/ Helen W. Bell
                                                                         Helen W. Bell

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.

            15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 31 of 49
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF LOUISIANA
                                                        ALEXANDRIA DIVISION
   In re:   Helen W. Bell                                                                            Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $52,604.00                  2013 Adjusted Gross Income Pursuant to Form 1040

        $34,806.00                  2014 Approximate Gross Income

        $11,413.00                  2015 Year to Date Approximate Gross Income

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $6,204.12                   2015 Year to Date Approx. Income from Retirement

        $176.00                     2013 State Tax Refund

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


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B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF LOUISIANA
                                                       ALEXANDRIA DIVISION
   In re:   Helen W. Bell                                                                         Case No.
                                                                                                                          (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF PERSON                                   RELATIONSHIP TO                               DESCRIPTION AND
        OR ORGANIZATION                                              DEBTOR, IF ANY  DATE OF GIFT                  VALUE OF GIFT
        Mt. Zion Missionary Baptist Church                                                                         Monthly contributions
                                                                                                                   totaling
                                                                                                                   approximately $1,200
                                                                                                                   over the past 12
                                                                                                                   months

       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                     DATE OF PAYMENT,
                                                                     NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                    OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        McBride Law Firm                                             04/17/2015                       $0.00
        Thomas C. McBride, LLC
        301 Jackson St., Ste. 101
        Alexandria, LA 71301


              15-80433 - #1 File 04/21/15 Enter 04/21/15 09:01:33 Main Document Pg 33 of 49
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF LOUISIANA
                                                       ALEXANDRIA DIVISION
   In re:   Helen W. Bell                                                                          Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

        NAME AND ADDRESS OF TRANSFEREE,                                                       DESCRIBE PROPERTY TRANSFERRED
        RELATIONSHIP TO DEBTOR                                        DATE                    AND VALUE RECEIVED
        U Auto Pull It                                                2013                    1998 Ford Contour Sold for $200

       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.


       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




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B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF LOUISIANA
                                                        ALEXANDRIA DIVISION
   In re:   Helen W. Bell                                                                           Case No.
                                                                                                                            (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




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B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF LOUISIANA
                                                        ALEXANDRIA DIVISION
   In re:   Helen W. Bell                                                                             Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.




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B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF LOUISIANA
                                                        ALEXANDRIA DIVISION
   In re:   Helen W. Bell                                                                             Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 4/17/2015                                                          Signature          /s/ Helen W. Bell
                                                                        of Debtor          Helen W. Bell

Date                                                                    Signature
                                                                        of Joint Debtor
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571




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B 201B (Form 201B) (12/09)              UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF LOUISIANA
                                               ALEXANDRIA DIVISION
In re Helen W. Bell                                                                       Case No.

                                                                                          Chapter            13



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Helen W. Bell                                                       X    /s/ Helen W. Bell                                 4/17/2015
                                                                        Signature of Debtor                                Date
Printed Name(s) of Debtor(s)
                                                                    X
Case No. (if known)                                                     Signature of Joint Debtor (if any)                 Date

                         Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,              Thomas C. McBride                   , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Thomas C. McBride
Thomas C. McBride, Attorney for Debtor(s)
Bar No.: 09210
McBride Law Firm
Thomas C. McBride, LLC
301 Jackson St., Ste. 101
Alexandria, LA 71301
Phone: (318) 445-8800
Fax: (318) 445-8066




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.




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FB 201A (Form 201A) (6/14)


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling
and provides assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies. Each debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.




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Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $75 administrative fee: Total fee $310)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $75 administrative fee: Total fee $275)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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                                           UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF LOUISIANA
                                                  ALEXANDRIA DIVISION
IN RE:     Helen W. Bell                                                                 CASE NO

                                                                                         CHAPTER      13

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $3,200.00
     Prior to the filing of this statement I have received:                                            $0.00
     Balance Due:                                                                                  $3,200.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   any state court or city court proceedings; cancellation of judgments; I.R.S. negotiations; defending motions to lift
   the automatic stay; complaints to deny or revoke the discharge of the debtor; complaints to determine the
   dischargeability of debt; other unforeseen litigation; or (for Chapter 13) any costs paid pre-petition by the debtor(s)
   for filing fees, credit report fees or credit counseling fees as set forth in the contract and fee agreement.


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                       4/17/2015                              /s/ Thomas C. McBride
                         Date                                 Thomas C. McBride                          Bar No. 09210
                                                              McBride Law Firm
                                                              Thomas C. McBride, LLC
                                                              301 Jackson St., Ste. 101
                                                              Alexandria, LA 71301
                                                              Phone: (318) 445-8800 / Fax: (318) 445-8066



      /s/ Helen W. Bell
     Helen W. Bell




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                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF LOUISIANA
                                             ALEXANDRIA DIVISION
  IN RE:   Helen W. Bell                                                            CASE NO

                                                                                    CHAPTER   13

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 4/17/2015                                           Signature    /s/ Helen W. Bell
                                                                     Helen W. Bell



Date                                                     Signature




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                       1st Heritage
                       1261 Macarthur Drive
                       Alexandria, LA 71303



                       Affordable Home Furnishings
                       624 MacArthur Drive
                       Alexandria, LA 71303



                       Applied Bank
                       601 Delaware Ave
                       Wilmington, DE 19801



                       Arctech Inc
                       915 North Street
                       Little Rock, AR 72201



                       CAC Financial Corp.
                       2601 NW Expressway, Ste. 1000 East
                       Oklahoma City, OK 73112



                       Capital One Bank
                       P.O. Box 61540
                       New Orleans, LA 70160



                       Collection
                       P.O. Box 9134
                       Needham Heights, MA 02494



                       Credit Bureau Services
                       1244 Jackson Street
                       Alexandria, LA 71301



                       Credit Bureau Services
                       1244 Jackson St.
                       Alexandria, LA 71301




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                       Csd Collections
                       9544 Fenway Ave.
                       Baton Rouge, LA 70809



                       First National Collection Bureau
                       610 Waltham Way
                       Sparks, NV 89434



                       Franklin Collection Services
                       2978 W. Jackson Street
                       Tupelo, MS 38801



                       General Collections and Recovery
                       3720 MacArthur Drive
                       Alexandria, LA 71302



                       Harvard Collection
                       4839 N. Elston Ave
                       Chicago, IL 60630



                       Internal Revenue Service
                       Centralized Insolvency Operations
                       P.O. Box 7346
                       Philadelphia, PA 19101-7346


                       Internal Revenue Service
                       1555 Poydras Street, Ste. 220
                       Mail Stop 31
                       New Orleans, LA 70112


                       Louisiana Department of Revenue
                       POB 66658
                       Baton Rouge, LA 70896



                       MGC Mortgage
                       425 Philips Blvd.
                       Trenton, NJ 08618




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                       NCO Fin/99
                       507 Prudential Re.
                       Horsham, PA 19044



                       Office of District Counsel
                       Internal Revenue Service
                       POB 30509
                       New Orleans, LA 70190


                       Paycheck Loans
                       2640 Hwy. 28 East
                       Pineville, LA 71360



                       Paycheck Loans
                       744 MacArthur Drive
                       Alexandria, LA 71301



                       Pelican State Credit Union
                       11585 Lake Sherwood Avenue
                       Baton Rouge, LA 70816



                       Rapides Parish Sheriff
                       701 Murray Street
                       Alexandria, LA 71301



                       Security Finance
                       1719 MacArthur Drive
                       Alexandria, LA 71301



                       Southern Credit Recovery
                       3228 6th St, #201
                       Metairie, LA 70002-1612



                       State Finance
                       1785-B Elliott Street
                       Alexandria, LA 71301




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                       TLRA
                       POB 650576
                       Dallas, TX 75265



                       Western Auto
                       1000 Macarthur Blvd
                       Mahwah, NJ 07430



                       World Finance
                       1777 Monroe Street
                       Alexandria, LA 71301



                       Your Credit
                       1623 MacArthur Drive
                       Alexandria, LA 71301




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 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:

 Debtor 1             Helen                  W.                  Bell                        According to the calculations required by this
                      First Name             Middle Name         Last Name                   Statement:

 Debtor 2                                                                                       1. Disposable income is not determined
 (Spouse, if filing) First Name              Middle Name         Last Name                         under 11 U.S.C. § 1325(b)(3).
                                                                                                2. Disposable income is determined
 United States Bankruptcy Court for the: WESTERN DISTRICT OF LOUISIANA                             under 11 U.S.C. § 1325(b)(3).

 Case number                                                                                    3. The commitment period is 3 years.
 (if known)                                                                                     4. The commitment period is 5 years.


                                                                                                 Check if this is an amended filing
Official Form 22C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          12/14
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                      $3,469.83
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse                      $0.00
     if Column B is filled in.
4.   All amounts from any source which are regularly paid for household                           $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.

5.   Net income from operating a business, profession, or farm
     Gross receipts (before all deductions)                              $0.00
     Ordinary and necessary operating expenses               –           $0.00
                                                                                 Copy
     Net monthly income from a business, profession, or farm             $0.00 here               $0.00


6.   Net income from rental and other real property
     Gross receipts (before all deductions)                              $0.00
     Ordinary and necessary operating expenses               –           $0.00
                                                                                 Copy
     Net monthly income from rental or other real property               $0.00 here               $0.00


7.   Interest, dividends, and royalties                                                           $0.00


Official Form 22C-1                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                   page 1

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Debtor 1         Helen                             W.                                Bell                                               Case number (if known)
                 First Name                        Middle Name                       Last Name


                                                                                                                                             Column A                   Column B
                                                                                                                                             Debtor 1                   Debtor 2 or
                                                                                                                                                                        non-filing spouse

8.    Unemployment compensation                                                                                                                         $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                               $0.00
          For you............................................................................................................................
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                     $1,551.03
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total on line 10c.

          10a.

          10b.

          10c. Total amounts from separate pages, if any.                                                                             +                               +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                     $5,020.86            +                                =         $5,020.86
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                        Total average
                                                                                                                                                                                                        monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                         $5,020.86
12. Copy your total average monthly income from line 11. ..............................................................................................................................................
13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 in line 13d.
             You are married and your spouse is filing with you. Fill in 0 in line 13d.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
             of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
             than you or your dependents.

             In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
             necessary, list additional adjustments on a separate page.

             If this adjustment does not apply, enter 0 on line 13d.

             13a.
             13b.
             13c.                                                                                                     +
                                                                                                                                          $0.00
             13d. Total......................................................................................................................                Copy
                                                                                                                                                                .........................
                                                                                                                                                                    here.                 13d.        –                 $0.00


14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                14.             $5,020.86

15. Calculate your current monthly income for the year. Follow these steps:

      15a.     Copy line 14 here                                                                                                                                                                                $5,020.86
                                                   ...................................................................................................................................................................................
                                                                                                                                                                                                15a.

               Multiply line 15a by 12 (the number of months in a year).                                                                                                                                   X         12

      15b.     The result is your current monthly income for the year for this part of the form.                                                                                                15b.           $60,250.32




Official Form 22C-1                        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                       page 2

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Debtor 1      Helen                           W.                             Bell                                             Case number (if known)
              First Name                      Middle Name                    Last Name


16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                  Louisiana

    16b.    Fill in the number of people in your household.                                               5

    16c.                                                                                                                                                             $82,109.00
            Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                       16c.
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C-2).
    17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C-2). On line 39 of that
                   form, copy your current monthly income from line 14 above.


 Part 3:        Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                              $5,020.86
                                                                                         ..............................................................................................................................................
                                                                                                                                                                                      18.

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13d.

    If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                19a.    –                 $0.00

    Subtract line 19a from line 18.                                                                                                                                                 19b.              $5,020.86

20. Calculate your current monthly income for the year. Follow these steps:

    20a.                                                                                                                                                                                             $5,020.86
            Copy line 19b ...................................................................................................................................................................................
                                                                                                                                                                                     20a.

            Multiply by 12 (the number of months in a year).                                                                                                                                     X         12

    20b.    The result is your current monthly income for the year for this part of the form.                                                                                         20b.           $60,250.32

    20c.                                                                                                                                                 $82,109.00
            Copy the median family income for your state and size of household from line 16c. ..........................................................................................................
                                                                                                                                           20c.

21. How do the lines compare?

           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.


 Part 4:        Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X      /s/ Helen W. Bell                                                                               X
           Helen W. Bell                                                                                         Signature of Debtor 2

        Date 4/17/2015                                                                                           Date
             MM / DD / YYYY                                                                                                MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 22C-2.

    If you checked 17b, fill out Form 22C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 22C-1                    Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                 page 3

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